         Case 1:17-cv-00260-HSO-MTP Document 8 Filed 01/22/18 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                   SOUTHERN DIVISION

MELVIN GRAYER, #406020                                                                    PETITIONER

VERSUS                                                CIVIL ACTION NO.          1:17-cv-260-HSO-MTP

TROY PETERSON, Sheriff                                                                  RESPONDENT

     ORDER DIRECTING PETITIONER TO PROVIDE ADDITIONAL INFORMATION

        This matter is before the Court on Petitioner=s Amended Petition [6] filed on October 24,

2017.     Petitioner is challenging his criminal charges of two counts of taking possession of a

motor vehicle, two counts of burglary, and attempted taking possession of a motor vehicle he

received in the Circuit Court of Harrison County, Mississippi. Amd. Pet. [6] at 1.            Petitioner

states that he was scheduled for trial on October 9, 2017, but does not state the outcome of the

trial. Id. at 9. Accordingly, it is

        ORDERED AND ADJUDGED that Petitioner shall file a written signed response on or

before February 13, 2018, to provide the following:

        (a) state if Petitioner went to trial on or after October 9, 2017, for the criminal
        charges which are the subject of this petition for habeas relief;

        (b) if the Petitioner went to trial on or after October 9, 2017, state if Petitioner was
        convicted by a jury, as a result of a guilty plea, or were the charges resolved in
        another manner;

        (c) state if Petitioner=s trial has been re-scheduled for a different date;

        (d) if Petitioner=s trial has been re-scheduled for a different date, state the date of
        Petitioner=s trial for the criminal charges which are the subject of this petition for
        habeas relief;

        (e) state if Petitioner is represented by an attorney in his criminal proceedings
        concerning the criminal charges which are the subject of this petition for habeas
        relief;
       Case 1:17-cv-00260-HSO-MTP Document 8 Filed 01/22/18 Page 2 of 2



      (f) state if Petitioner has filed since February 3, 2017, with the state court a
      pleading presenting his claims for relief as set forth in his petition;

      (g) if Petitioner filed pleadings in state court presenting his claims for relief as set
      forth in the instant petition, state the date and decision of the state court concerning
      the pleading that asserted these grounds Petitioner has presented in this case for
      habeas relief;

      (h) if Petitioner did not agree with the decision of the state court concerning his
      pleading presenting his grounds for relief, state the date Petitioner filed with the
      Mississippi Court of Appeals or Mississippi Supreme Court an appeal asserting these
      grounds for habeas relief that are presented in the instant civil action; and

      (i) state the date and decision of the Mississippi Court of Appeals or Mississippi
      Supreme Court concerning his appeal asserting these grounds for habeas relief that
      are presented in this case for habeas relief.

      IT IS FURTHER ORDERED that Petitioner shall file his written response with the Clerk,

U. S. District Court, 2012 15th Street, Suite 403, Gulfport, Mississippi 39501.

      Petitioner is warned that his failure to fully comply with this order in a timely manner or

failure to keep the Court informed of his current address may result in the dismissal of this cause.

      SO ORDERED, this the 22nd day of January, 2018.

                                             s/ Michael T. Parker
                                             UNITED STATES MAGISTRATE JUDGE




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